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13

14                      UNITED STATES DISTRICT COURT
15
                       CENTRAL DISTRICT OF CALIFORNIA
16

17
     BRETT ROBERTS,                )           CASE NO.
18                                 )
19                     Plaintiff,  )           COMPLAINT FOR VIOLATIONS OF
                                   )           THE FEDERAL FAIR DEBT
20
     vs.                           )           COLLECTION PRACTICES ACT
21                                 )           AND THE ROSENTHAL ACT
22
     ASSET ACCEPTANCE, LLC and )
     FULTON, FRIEDMAN &            )
23   GULLACE, LLP,                 )
24                                 )
                       Defendants. )
25
                                   )
26

27

28


     Complaint

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 1
                                        INTRODUCTION
 2
             1.   Plaintiff Brett Roberts, through his counsel, brings this action to
 3   challenge the acts of Asset Acceptance, LLC (hereinafter, “Asset,”) and of Fulton,
 4   Friedman & Gullace, LLP, (hereinafter “FFG”) (collectively, “Defendants”)
 5   regarding attempts by Defendants to unlawfully and abusively collect a debt
 6   allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
 7           2.   Plaintiff makes these allegations on information and belief, with the
 8   exception of those allegations that pertain to a plaintiff, or to a plaintiff's counsel,
 9   which Plaintiff alleges on personal knowledge.
10           3.   While many violations are described below with specificity, this
11   Complaint alleges violations of the statutes cited in their entirety.
12           4.   Any violations by Defendants were knowing, willful, and intentional,
13   and Defendants did not maintain procedures reasonably adapted to avoid any such
14   violation.
15                               JURISDICTION AND VENUE
16           5.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 and 15
17   U.S.C. § 1692(k).
18           6.   This action arises out of Defendants’ violations of the Fair Debt
19   Collection Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), and out of
20   Defendant Asset’s violations of California’s Fair Debt Collection Practices Act
21   (“RFDCPA” or “Rosenthal Act”).
22           7.   As both Defendants do business in the State of California, and
23   committed the acts that form the basis for this suit with the intent to cause effects in
24   the State of California, this Court has personal jurisdiction over Defendants for
25   purposes of this action.
26           8.   Venue is proper as both Defendants do business in the County of Los
27   Angeles, and the acts at issue took place in the County of Los Angeles.
28   ///

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 1
                                            PARTIES
 2
             9.    Plaintiff is a natural person, an adult, and resides in Los Angeles
 3   County, California.
 4           10.   Plaintiff is informed and believes and thereon alleges that Defendant
 5   Asset is a Delaware limited liability company, or “LLC,” doing business in the State
 6   of California.
 7           11.   Plaintiff is informed and believes and thereon alleges that Defendant
 8   FFG is a New York Limited Liability Partnership (“LLP”) doing business in the
 9   State of California.
10           12.   Defendant Asset is a person who uses an instrumentality of interstate
11   commerce or the mails in a business the principal purpose of which is the collection
12   of debts, or who regularly collects or attempts to collect, directly or indirectly, debts
13   owed or due or asserted to be owed or due another and is therefore a debt collector
14   as that phrase is defined by 15 U.S.C. § 1692a(6).
15           13.   Defendant FFG is a person who uses an instrumentality of interstate
16   commerce or the mails in a business the principal purpose of which is the collection
17   of debts, or who regularly collects or attempts to collect, directly or indirectly, debts
18   owed or due or asserted to be owed or due another and is, therefore, a debt collector
19   as that phrase is defined by 15 U.S.C. § 1692a(6).
20           14.   Defendant Asset, in the ordinary course of business, regularly, on
21   behalf of himself, himself, or others, engages in debt collection as that term is
22   defined by California Civil Code § 1788.2(b) is, therefore, a debt collector as that
23   term is defined by California Civil Code § 1788.2(c).
24           15.   Defendants Asset and FFG claim that Plaintiff is obligated to pay a
25   debt and, therefore, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
26   1692a(3).
27           16.   Plaintiff is a natural person from whom a debt collector sought to
28   collect a consumer debt which was due and owing or alleged to be due and owing

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     from Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
 2
     1788.2(h).
 3           17.   This case involves money, property or their equivalent, due or owing or
 4   alleged to be due or owing from a natural person by reason of a consumer credit
 5   transaction. As such, this action arises out of a consumer debt and “consumer credit”
 6   as those terms are defined by Cal. Civ. Code § 1788.2(f).
 7                      FACTS COMMON TO ALL CAUSES OF ACTION
 8           18.   On September 6, 2013, Defendant FFG, on behalf of their client Asset,
 9   filed a complaint (“State Court Complaint”) in the Superior Court of California for
10   the County of Los Angeles against Mr. Roberts, in the matter of Asset Acceptance,
11   LLC v. Brett Roberts, et al, case number 13A18654.
12           19.   A copy of this September 6, 2013 State Court Complaint is attached as
13   Exhibit A.
14           20.   In the above State Court Complaint, later served on Mr. Roberts,
15   Defendants alleged that Asset was an assignee of Wells Fargo Bank, NA and that:
16                 A.     Asset had an enforceable legal claim for an open book account
17           against Roberts;
18                 B.     Asset simultaneously had an enforceable legal claim for an
19           “account stated” against Roberts; and
20                 C.     Asset had an enforceable claim against Mr. Roberts for
21           restitution under a theory of “unjust enrichment,” in the amount of $4,287.38
22           by receipt of money on an account.
23           Time barred claims
24           21.   In fact, Asset did not have an enforceable legal claim under any of the
25   above theories, as all of the above claims were time barred, as more than four years
26   elapsed between Mr. Roberts last transaction on the account at issue and the filing of
27   the State Court Complaint, or in the case of Asset’s Unjust Enrichment claim, more
28   than three years had elapsed since the receipt of the consideration at issue.

     Complaint

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             22.    Defendants therefore misrepresented the legal status of a debt, as
 2
     Defendants falsely claimed to have three enforceable legal claims, when in fact they
 3   had none.
 4
             Defendants’ claim of a right to $4,287.38 under a theory of unjust
 5   enrichment is inflated and therefore false.
 6           23.    Defendants alleged in the State Court Complaint that Mr. Roberts owed
 7   a debt of $4,287.38 to Asset based on a theory of unjust enrichment, a claim for
 8   restitution.
 9           24.    Quasi-contractual theories such as unjust enrichment only allow for the
10   recovery of damages for restitution; or the consideration or other benefit received,
11   and results in a waiver of any contract between the parties.
12           25.    Unjust enrichment, therefore, does not allow for the recovery of
13   contractual compound interest or fees.
14           26.    Contrary to Defendants’ allegations, Mr. Roberts never received
15   $4,287.38 in unpaid money, or other benefit or consideration of this value, on the
16   account alleged.
17           27.    In fact, the balance of $4,287.38 alleged by Defendants was based in
18   whole or in part in contractual compound interest and fees which are not recoverable
19   under a theory of unjust enrichment.
20           28.    Therefore, Defendants made a false representation as to the amount
21   available to Asset under a theory of unjust enrichment and attempted to collect an
22   amount not authorized by law or agreement.
23           Modification of a document approved by an agency of a state
24           29.    In the State Court Complaint, Defendants modified a form complaint,
25   form number PLD-C-001(2), at paragraph CC-1(a)(2), by changing the word
26   “plaintiff” to read “plaintiff’s assginor(sic).”
27           30.    This same form states at the bottom that is a “Form Approved by the
28   Judicial Council of California.”

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             31.     The Judicial Council of California is an agency of the State of
 2
     California, part of the judicial branch of California’s government.
 3           32.     While there are certain parts of this form that may be modified by
 4   adding language, these sections are clearly marked by language like “other (name):”
 5   or “other (specify):” which makes it clear that the language that follows was written
 6   by the litigant, and not by the Judicial Council, and that the Judicial Council
 7   intended to allow language by the litigant to be inserted at that paragraph.
 8           33.     Paragraph CC-1(a)(2) does not bear any indicia that it was intended to
 9   be modified in any way, and it is the unmodified language of paragraph CC-1(a)(2)
10   that is “approved by the Judicial Council.”
11           34.     The FDCPA, at 15 USC 1692e(9), prohibits “The use or distribution
12   of any written communication which simulates or is falsely represented to be a
13   document authorized, issued, or approved by any court, official, or agency of the
14   United States or any State, or which creates a false impression as to its source,
15   authorization, or approval.”
16           35.     Defendants both falsely represented, and created a false impression,
17   that document PLD-C-001(2), modified to add the words “plaintiff’s assignor(sic),”
18   instead of “plaintiff” at paragraph CC-1(a)(2) was a form approved by the Judicial
19   Council of California.
20                ALLEGATIONS SPECIFIC TO CERTAIN CAUSES OF ACTION
21                                FIRST CLAIM FOR RELIEF
22                           (Violations of the FDCPA by Asset FFG)
23           36.     Plaintiff re-alleges and incorporates herein by reference the allegations
24   contained in the paragraphs above.
25           37.     Defendants Asset and FFG violated the FDCPA. Defendants’
26   violations include, but are not limited to the following:
27           a.      15 U.S.C. §1692d by using unfair or unconscionable means to collect a
28                   debt; and by engaging in behavior the natural consequence of which is

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 1
                   to harass, abuse or oppress a person in connection with the collection of
 2
                   a debt;
 3           b.    15 U.S.C. §1692e by making a false, deceptive or misleading
 4                 misrepresentation in the collection of a debt;
 5           c.    15 U.S.C. §1692e(2) by misrepresenting the character, amount and
 6                 legal status of a debt;
 7           d.    15 U.S.C. §1692e(9) by use or distribution of a written communication
 8                 which simulates or is falsely represented to be a document authorized
 9                 or approved by an agency of a State, or which creates a false
10                 impression as to its authorization, or approval.
11           e.    15 U.S.C. §1692e(10) by use of a false representation or deceptive
12                 means to collect a debt;
13           f.    15 U.S.C. §1692f(1) by collection of an amount not expressly
14                 authorized by an agreement creating a debt, or by law.
15           38.   Plaintiff is entitled to actual damages sustained as a result of
16   Defendants’ conduct, in an amount according to proof; to statutory damages of
17   $1,000; costs of the action; and reasonable attorney’s fees, all pursuant to 15 U.S.C.
18   §1692k.
19                               SECOND CLAIM FOR RELIEF
20                           (Violations of the Rosenthal Act by Asset)
21           39.   Plaintiff repeats, re-alleges, and incorporates by reference all the
22   allegations contained in the paragraphs above.
23           40.   Based on information and belief, Defendant Asset’s acts and omissions
24   violated California Civil Code § 1788 et seq, including, but not limited to the
25   following sections: California Civil Code §§ 1788.17 and 1788.13.
26           41.   Based on information and belief, Defendant Asset’s violations of
27   California Civil Code § 1788.17, which incorporate several of the provisions of the
28   FDCPA, include, but are not limited to, the following: Defendant Asset’s violations
     include, but are not limited to the following:
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 1
             a.    15 U.S.C. §1692c(a) by communicating with a represented consumer,
 2
                   without consent of the consumer’s counsel, and without first contacting
 3                 the consumer’s counsel.
 4           b.    15 U.S.C. §1692d by using unfair or unconscionable means to collect a
 5                 debt; and by engaging in behavior the natural consequence of which is
 6                 to harass, abuse or oppress a person in connection with the collection of
 7                 a debt;
 8           c.    15 U.S.C. §1692e by making a false, deceptive or misleading
 9                 misrepresentation in the collection of a debt;
10           d.    15 U.S.C. §1692e(2) by misrepresenting the character, amount and
11                 legal status of a debt;
12           e.    15 U.S.C. §1692e(9) by use or distribution of a written communication
13                 which simulates or is falsely represented to be a document authorized
14                 or approved by an agency of a State, or which creates a false
15                 impression as to its authorization, or approval.
16           f.    15 U.S.C. §1692e(10) by use of a false representation or deceptive
17                 means to collect a debt;
18           g.    15 U.S.C. §1692f(1) by collection of an amount not expressly
19                 authorized by an agreement creating a debt, or by law.
20           42.   Defendant Asset also violated the Rosenthal Act at Civil Code §
21   1788.13 by making a false representation that the debt alleged may be increased by
22   the addition of attorney’s fees, when in fact no such fees may legally be charged.
23           43.   Defendant Asset’s violations of the Rosenthal Act were willful and
24   knowing, thereby entitling Plaintiff to statutory damages pursuant to Civil Code §
25   1788.30(b).
26           44.   As a proximate result of the violations of the Rosenthal Act committed
27   by Defendant Asset, Plaintiff is entitled to any actual damages pursuant to
28   California Civil Code § 1788.30(a); statutory damages in an amount up to $1,000.00

     Complaint

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 1
     each pursuant to California Civil Code § 1788.30(b); and, reasonable attorney’s fees
 2
     and costs pursuant to California Civil Code § 1788.30(c) from Defendant Asset.
 3
                                   PRAYER FOR RELIEF
 4           WHEREFORE, Plaintiff prays that judgment be entered against Defendants
 5   Asset and FFG, and prays for the following relief:
 6           1.   An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1)
 7   against Defendants Asset and FFG, and for the Plaintiff;
 8           2.   An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
 9   1692k(a)(2)(A) against Defendants Asset and FFG, and for the Plaintiff;
10           3.   An award of actual damages pursuant to California Civil Code §
11   1788.30(a) against Defendant Asset and for Plaintiff;
12           4.   An award of statutory damages of $1,000.00 pursuant to California
13   Civil Code § 1788.30(b) against Defendant Asset and for Plaintiff;
14           5.   An award of costs of litigation and reasonable attorney’s fees, pursuant
15   to 15 U.S.C. § 1692k(a)(3) and California Civil Code § 1788.30(c) against
16   Defendant Asset, and as to 15 U.S.C. § 1692k(a)(3) only, against Defendant FFG;
17   and
18           6.   Such other and further relief this court may deem just and proper.
19                                     JURY DEMAND
20           1.   Plaintiff demands a trial by jury.
21
                                            Respectfully submitted,
22

23   DATED: April 1, 2014                   /s/ STEPHEN G. RECORDON
24
                                            Attorney for Plaintiff
                                            BRETT ROBERTS
25

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28


     Complaint

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